Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 1of 9

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

Criminal No. $ (%- ef - Gl (15M)

UNITED STATES OF AMERICA )
)
v. ) Information
)
ANDREW N. LaVIGNE, ) Violations: 18 U.S.C. § 152¢7)
) [Fraudulent Concealment of
Defendant. ) Property]
) 18 U.S.C. § 1341
) [Mail Fraud]
) 18 U.S.C. § 1957(a)
) [Money Laundering]
)
) 4 Counts
)
) County of Offense: Tompkins

THE UNITED STATES ATTORNEY CHARGES:
Background

l. On June 4, 2004, defendant ANDREW N. LaVIGNE filed a petition for voluntary
personal bankruptcy pursuant to Chapter 11 of Title 11 of the United States Code in the United
States Bankruptcy Court for the Northern District of New York in Case Number No. 04-64078,
later renumbered as 06-30090. When he filed his bankruptcy petition, defendant LaVIGNE owed
approximately $7.6 million to over 80 unsecured creditors following defendant LaVIGNE’s failed
scheme to use capital from individual investors to purchase sports and entertainment memorabilia
and resell it for a profit.

2. In filing for bankruptcy, defendant LaVIGNE submitted documents to the United
States Bankruptcy Court stating that his only sources of income came from his accounting practice,

tax refunds, and nominal interest income. He stated that his total monthly income as a certified
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 2 of 9

public accountant was $10,000, and that the gross income from his accounting practice in 2002
was approximately $205,000 and in 2003 was approximately $191,000.

3. As part of the bankruptcy proceeding, defendant LaVIGNE proposed a Chapter | |
plan of liquidation (the “Plan’”) that would provide approximately $160,000 toward his debts, an
amount that was insufficient to cover even administrative expenses associated with his bankruptcy,
leaving his creditors unpaid. In support of the Plan, defendant LaVIGNE disclosed that his only
asset was his personal residence and that his accounting practice had no value that would benefit
the bankruptcy estate.

4, Based on defendant LaVIGNE’s disclosures and the information available
throughout the bankruptcy proceeding, the United States Trustee for the Northern District of New
York made no objection to the Plan, and the United States Bankruptcy Court confirmed it on July
21,2014. Also, on July 21, 2014, the Bankruptcy Court granted defendant LaVIGNE a discharge
of his more that $7 million in debt.

5. Defendant LaVIGNE’s bankruptcy was reopened in May 2015 and remains
pending. None of defendant LaVIGNE’s creditors have been paid through the bankruptcy
proceeding.

6. An accounting firm owned and operated by defendant LaVIGNE named “Andrew
N. LaVigne, CPA, PLLC” was one of the assets in the bankruptcy estate, meaning that it could be
sold and the proceeds from the sale be used to pay LaVIGNE’s creditors (the “accounting firm”).
In 2007, defendant LaVIGNE himself arranged to purchase the accounting firm from the
bankruptcy estate. Revenue earned by the accounting firm after this purchase would not be part

of the bankruptcy estate. Defendant LaVIGNE thereafter used bank accounts related to the
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 3 of 9

accounting firm to conceal funds that he received and used for his benefit and the benefit of
members of his family from the United States Bankruptcy Court and United States Trustee.

7. From at least on or about January |, 2011, through and including at least on or about
July 21, 2014, defendant LaVIGNE maintained an account ending in 6573 at the Tompkins Trust
Company titled “Andrew N. LaVigne CPA PLLC Escrow Checking” (the “Escrow Account”).
Defendant LaVigne also maintained an account ending in 6565 at the Tompkins Trust Company
titled “Andrew N. LaVigne CPA PLLC” (the “Operating Account”). Defendant LaVIGNE used
the Operating Account to receive revenue and pay for the accounting firm’s routine expenses,
including payroll.

8. From at least on or about January 1, 2011, through and including at least on or about
July 21, 2014, defendant LaVIGNE used the Escrow Account and Operating Account to receive
and use for his benefit and the benefit of his family members, funds that were not related to the
accounting practice, and to conceal these funds, which should have been reported to the United
States Bankruptcy Court and the United States Trustee as part of his bankruptcy proceeding.

9. Many payments to the Escrow Account came from entities that defendant
LaVIGNE assisted in creating for an individual whose initials are R.M. (the “R.M.
Organization”). The purported purpose of the R.M. Organization was to hold a multimillion-dollar
family inheritance and create and distribute income to R.M. and her family. Defendant LaVIGNE
persuaded R.M. to transfer funds from the R.M. Organization to the Escrow Account, which made
it appear as if these funds related to the accounting practice. He then used the money for his own
purposes, including by transferring tens of thousands of dollars to the Operating Account and then

writing checks drawn on this account to himself totaling tens of thousands of dollars. Defendant
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 4 of 9

LaVIGNE did not disclose his receipt or use of these funds to the Bankruptcy Court or the United

States Trustee.

COUNTS 1-2
[Fraudulent Concealment of Property]

10. The allegations set out in Paragraphs | through 9 above are hereby incorporated by
reference as if fully set forth herein.

11. From on or about the following dates, through on or about July 21, 2014, in
Tompkins County in the Northern District of New York, and elsewhere, the defendant, ANDREW
N. LaVIGNE, in his personal capacity as debtor in Case Number 06-30090 in the United States
Bankruptcy Court for the Northern District of New York, with intent to defeat the provisions of
Title 11 of the United States Code, knowingly and fraudulently concealed his property and the
property of other persons and corporations in the following amounts, each constituting a separate

count:

 

Count | Date Concealment Began | Concealed Property

 

 

] June 23, 2011 $1.5 million payment from the R.M. Organization to the
Escrow Account ending 6573
2 February 7, 2013 $200,000 payment from the R.M. Organization to the

 

 

 

Escrow Account ending 6573

 

 

All in violation of 18 U.S.C. § 152(7).

COUNT 3
[Mail Fraud]

The Scheme
12. The allegations set out in Paragraphs | through 9 above are hereby incorporated by

reference as if fully set forth herein.
13. Between in or about June 24, 2014, and August 11, 2016, the defendant, ANDREW

N. LaVIGNE, devised and intended to devise a scheme and artifice to defraud and to obtain money
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 5 of 9

and property, by means of materially false and fraudulent pretenses, representations, promises, and
material omissions.
Manner and Means

14. In 2014, B.C. and defendant LaVIGNE both were trustees of a revocable inter
vivos trust funded by B.C. and the legacy of her late husband (the “Trust”). Cornell University,
Office of Trusts, Estates & Gift Planning (“Cornell”), served as an agent for the Trust, acting as
custodian for its assets and providing investment recommendations to the Trust’s trustees. The
Trust’s assets were maintained by Bank of New York Mellon, Private Wealth (“BNY Mellon”).

15. The Trust was intended to provide lifetime income to B.C. and her husband, and
specific bequests to certain family members, with the balance of the Trust to be distributed to
Cornell University’s Johnson Business School after the deaths of B.C. and her husband.

16. As defendant LaVIGNE knew, apart from receiving pre-set, monthly distributions
from the Trust, B.C. could request additional distributions from the Trust in any amount and for
any purpose by making a written request to Cornell. Asa trustee, defendant LaVIGNE could also
make distribution requests on B.C.’s behalf. Upon receiving a signed request from B.C. or from
defendant LaVIGNE for an additional distribution on behalf of B.C., Cornell would instruct BNY
Mellon to send by overnight mail a check to the requestor in the amount specified. As agent,
Cornell could make investment recommendations, but, as defendant LaVIGNE knew, Cornell
could not refuse a distribution request from B.C. or from defendant LaVIGNE, nor could Cornell
prevent B.C. from using assets from the Trust as she desired during her lifetime.

17. In 2014, defendant LaVIGNE convinced B.C. to invest trust funds in an entity he
created called “Pier Road Properties, LLC,” which he represented as having the objective of

developing a parcel of waterfront property at 101 Pier Road in Ithaca, New York.
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 6 of 9

18. Between on or about June 24, 2014, and on or about January 13, 2016, defendant
LaVIGNE submitted sixteen requests to Cornell on his own letterhead seeking funds from the
Trust to acquire ownership interests for B.C. in Pier Road Properties, LLC at a cost of $100,000
per 2.5% interest share. Over a seventeen-month period, in response to these requests, defendant
LaVIGNE received $3.6 million in the Trust’s funds from BNY Mellon by check via mail. These
distributions of the Trust’s funds resulted in B.C. obtaining a 90% ownership interest in Pier Road
Properties, LLC. Defendant LaVIGNE also submitted separate distribution requests for a
quarterly $7,500 fee for “professional services” rendered with respect to the Trust, totaling $30,000
per year. Each distribution request from defendant LaVIGNE included a signature, purportedly
from B.C., and a hand-written notation stating “O.K. to Pay.”

19. Defendant LaVIGNE deposited the distribution checks he received from BNY
Mellon into the Escrow Account.

20. Between on or about February 10, 2016, and on or about August 9, 2016, defendant
LaVIGNE submitted five additional requests to Cornell for distributions from the Trust, each for
$200,000. Each of these requests contained an authorizing signature purportedly from B.C. Unlike
the prior distribution requests, these five requests did not indicate that the money would increase
B.C.’s ownership interest in Pier Road Properties, LLC. Rather, each of these five distribution
requests noted that the funds were to be “used to invest in Pier Road Properties, LLC,” which is
what defendant LaVIGNE promised B.C. he would do with the funds.

21. Pursuant to these five distribution requests, BNY Mellon mailed defendant
LaVIGNE five $200,000 checks, totaling $1 million, each of which defendant LaVIGNE
deposited into the Escrow Account. Defendant LaVIGNE’s representations to B.C. and Cornell

that these last five distributions would be used to invest in Pier Road Properties, LLC were false
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 7 of 9

and fraudulent. After obtaining these distributions, defendant LaVIGNE transferred most of the
funds out of the Escrow Account and used the money for personal purposes that did not relate to
Pier Road Properties, LLC, were not authorized by or disclosed to B.C., and did not benefit B.C.
Among other things, defendant LaVIGNE wrote checks to himself, paid for the construction of a
house for his daughter, funded payroll for his accounting practice, and made payments to the R.M.
Organization.

22. On or about June 16, 2016, in Tompkins County in the Northern District of New
York, and elsewhere, the defendant, ANDREW N. LaVIGNE, for the purpose of executing the
scheme and artifice described above and to obtain money by means of material false and fraudulent
pretenses, representations, and promises, knowingly caused to be delivered by the United States
Postal Service a check in the amount of $200,000 from BNY Mellon, NA made out to Andrew N.
LaVigne, C.P.A., LLC, Escrow Account, in violation of Title 18, United States Code, Section
1341.

COUNT 4
[Money Laundering]

23. The allegations set out in Paragraphs | through 9 and 12 through 22 above are
hereby incorporated by reference as if fully set forth herein.

24. On or about June 29, 2016, in Tompkins County in the Northern District of New
York, and elsewhere in the United States, the defendant, ANDREW N. LaVIGNE, did knowingly
engage in a monetary transaction by, through, and to a financial institution, affecting interstate
commerce, in criminally derived property of a value greater than $10,000, such property having
been derived from a specified unlawful activity, that is, mail fraud, in violation of Title 18, United

States Code, Section 1341, in that the defendant transferred $72,000 from the Escrow Account to
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 8 of 9

a Tompkins Trust Company account ending in 6565 titled “Andrew N. LaVigne CPA PLLC,” in
violation of Title 18, United States Code, Section 1957(a).
FORFEITURE ALLEGATION

25. The allegations contained in Count 3 of this information are hereby realleged and
incorporated by reference for the purpose of alleging forfeiture pursuant to Title 18, United States
Code, Section 981(a)(1)(C), Title 28, United States Code, Section 2461(c), and Title 21 United
States Code, Section 853(p).

26. Pursuant to Title 18, United States Code, Section 981(a)(I)(C), Title 28, United
States Code, Section 2461(c), and Title 21 United States Code, Section 853(p), upon conviction
of mail fraud in violation of Title 18, United States Code, Section 1341, the defendant, ANDREW
N. LaVIGNE, shall forfeit to the United States of America any property, real or personal, which
constitutes or is derived from proceeds traceable to said violation. The property to be forfeited
includes, but is not limited to, the following:

(a) $1,000,000.00 in U.S. currency

27. If any of the property described above, as a result of any act or omission

of the defendant:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without

difficulty,
Case 3:19-cr-00061-TJM Document 2 Filed 03/27/19 Page 9 of 9

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

Dated: February 19, 2019 GRANT C. JAQUITH
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